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                          United States District Court Northern District of Illinois
                          MOTION FOR LEAVE TO APPEAR PRO HAC VICE
Case Title:                                                                                                          Plantiff(s)
                       Fischer, et al.
                                                                            VS.

                                                                                                                     Defendant(s)
                       Instant Checkmate, LLC

Case Number:           1:19-cv-04892                              Judge: Honorable Gary Feinerman


I,     Ian Heath Gershengorn                                                                                hereby apply to the Court

under Local Rule 83.14 for permission to appear and participate in the above-entitled action on behalf of

Instant Checkmate, LLC                                                                             by whom I have been retained.

I am a member in good standing and eligible to practice before the following courts:
                                                Title of Court                                                          Date Admitted
                                Supreme Court of the United States                                                      May 3, 1999
                             U.S. Court of Appeals for the First Circuit                                                April 4, 2004
                          U.S. Court of Appeals for the Second Circuit                                                 May 18, 2006
                                            See Attachment A

I have currently, or within the year preceding the date of this application, made pro hac vice applications to this
Court in the following actions:
                                                                                                            Date of Application
     Case Number                                            Case Title                                      (Granted or Denied)*
     1:19-cv-01846          TCS John Huxley America, Inc. et al v. Scientific Games Corporation et al             April 15, 2019




*If denied, please explain:
(Attach additional form if
necessary)
Pursuant to Local Rule 83.15(a), applicants who do not have an office within the Northern District of Illinois must designate, at the
time of filing their initial notice or pleading, a member of the bar of this Court having an office within this District upon who service of
papers may be made.

                                   Has the applicant designated local counsel?        Yes    X              No

If you have not designated local counsel, Local Rule 83.15(b) provides that the designation must be made within thirty (30) days.
              Case:
Has the applicant ever 1:19-cv-04892
                       been:                 Document #: 108 Filed: 12/03/20 Page 2 of 4 PageID #:772
sanctioned, censured, suspended, disbarred, or otherwise disciplined by
any court?                                                                            Yes                   No      X

or is the applicant currently the subject of an investigation of the                  Yes                   No      X
applicant’s professional conduct?

transferred to inactive status, voluntarily withdrawn, or resigned from the           Yes    X              No
bar of any court?

                                                                                      Yes                   No      X
denied admission to the bar of any court?

                                                                                      Yes                   No      X
held in contempt of court?
NOTE: If the answer to any of the above questions is yes, please attach a brief description of the incident(s) and the applicant’s current
status before any court, or any agency thereof, where disciplinary sanctions were imposed, or where an investigation or investigations
of the applicant’s conduct may have been instituted.

I have read the Rules of Professional Conduct for the Northern District of Illinois and the Standards for Professional Conduct within
the Seventh Federal Judicial Circuit, and will faithfully adhere to them. I declare under penalty of perjury that the foregoing is true and
correct.

December 3, 2020                                         S/   Ian Heath Gershengorn

                 Date                                               Electronic Signature of Applicant

                            Last Name                                 First Name                                     Middle Name/Initial
Applicant’s Name
                           Gershengorn                               Ian                                            Heath

Applicant’s Law Firm       Jenner & Block, LLP

                            Street Address                                                                           Room/Suite Number
Applicant’s Address
                           1099 New York Avenue, NW                                                                 Suite 900
                                                                                       Work Phone Number
                            City                        State         ZIP Code         (202) 639-6869

                           Washington                  D.C.          20001-4412        Email Address
                                                                                       IGershengorn@jenner.com
(The pro hac vice admission fee is $150.00 and shall be paid to the Clerk. No admission under Rule 83.14 is effective until such
time as the fee has been paid.)


NOTE: Attorneys seeking to appear pro hac vice may wish to consider filing a petition for admission to the general bar of this Court. The
      fee for admission to the General Bar is $181.00 The fee for pro hac vice admission is $150.00. Admission to the general bar
      permits an attorney to practice before this Court. Pro hac vice admission entitles an attorney to appear in a particular case
      only. Application for such admission must be made in each case; and the admission fee must be paid in each case.




         Rev. 11/13/2019
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                                  Attachment A

Title of Court                                  Date Admitted
U.S. Court of Appeals for the Third Circuit     June 12, 2006
U.S. Court of Appeals for the Fourth Circuit    January 31, 2019
U.S. Court of Appeals for the Sixth Circuit     December 5, 2019
U.S. Court of Appeals for the Seventh Circuit   November 10, 2017
U.S. Court of Appeals for the Eighth Circuit    October 17, 2017
U.S. Court of Appeals for the Ninth Circuit     July 22, 2008
U.S. Court of Appeals for the Tenth Circuit     September 26, 2003
U.S. Court of Appeals for the District of       July 17, 1998
Columbia Circuit
U.S. Court of Appeals for the Federal Circuit   February 27, 2019
U.S. District Court for the District of         December 6, 1999
Columbia
U.S. Court of Federal Claims                    October 20, 2017
Commonwealth of Massachusetts                   March 10, 1994
District of Columbia Court of Appeals           November 3, 1995
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                                  Attachment B
I did not renew my Fifth Circuit bar membership and thus became inactive because I had entered
federal government service and did not need the bar membership.
